Case 2:15-cr-20652-GCS-DRG ECF No. 1675-6 filed 09/09/20   PageID.23107   Page 1 of
                                      6




                                                           EXHIBIT            5
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-6 filed 09/09/20               PageID.23108   Page 2 of
                                      6


  I’m doing numbers, trap banging off the hinges,

  Cash bring Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  Monte on sixes, paint job ridiculous

  Niggas hating cuz we fucking all the bitches

  And I’m in the red zone bitch it’s ridiculous

  Money stacking, getting rich, all the hoes feel this

  Block and Vil will run yo bitch, run yo bitch and dump yo bitch

  We sho will, that’s how we live

  No cashing out, no paying bills, you cashing out, you paying bills

  Damn I feel so sorry

  Now fuck your crew, no eye blue

  RIP a Drop or two

  Red and white that paint job new

  Red and white that [UI] new

  Team block, icy baby

  Kamakazi super crazy

  Kush blowing, super lazy, Seven mile blood baby

  [UI] bitch

  All high on sixes bitch

  I’m doing numbers, trap banging off the hinges,

  Cash bring Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-6 filed 09/09/20   PageID.23109   Page 3 of
                                      6




                                                           EXHIBIT            5
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-6 filed 09/09/20         PageID.23110   Page 4 of
                                      6


  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  Block came through with a couple of them pigeons

  I was in the kitchen, working with a chicken

  I don’t show no love, it’s just another custo

  See me and I hit a bitch, I’m diving out the window

  See most niggas giving fiends exactly what they want

  But I’m getting over every time they knock at my door

  I’m getting over every time they come and cop the dope

  Yo block ain’t banging, all the fiends say he’s selling soap

  Switch the crack game, the rap game, now I’m seeing more

  With all this ice on ya boy I’ll never be thirtsy

  Boy 19 and I been local since I was 13

  When I turned 15, I learned how to sell things

  I’m doing numbers, trap banging off the hinges,

  Cash bring Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  Monte on sixes, paint look vicious

  Jumped out clean, might be leaning

  Chopper be singing, bones stay ringing

  Spot doing numbers like back in the 30s

  Like [UI] Johnsons
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-6 filed 09/09/20          PageID.23111   Page 5 of
                                      6


  Drink Moet when I gets thirsty

  Can’t forget the Savvy, on 30

  Came from water whipping out the D boy

  Ace around yeah I’m known all through the D boy

  But I bet my money go, no tea boy

  You can catch me in the ol’ town

  Fuck with Tina, never trust a bitch so I stay with the Neener

  When I turn 18, yeah I’m tryna cop a Beamer, huh

  I’m doing numbers, trap banging off the hinges,

  Cash bring Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches,

  Monte on sixes, Monte on sixes

  White folks think I’m strange cause the paint flipping

  Seven mile blood, please believe we ain’t slipping

  Got my niggas locked, yeah the hustle boys snitchin

  Niggas know we run the street, they can’t fuck with us

  Clique full of killas, [UI] drug dealers
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-6 filed 09/09/20                        PageID.23112         Page 6 of
                                      6


  I might get the mac but the Choppa do the business

  Shooting shit up, broad day, they say he tripping

  In my trap house stacking like [UI]

  And I’m off a pill but I don’t pop em like Fabo

  Banging off the hinges, banging off the hinges

  Banging off the hinges, banging off the hinges

  I’m doing numbers, trap banging off the hinges

  I’m doing numbers, trap banging off the hinges,

  [UI] Block in the kitchen where they’re whipping

  Niggas don’t like us cuz we fucking all they bitches

  Monte on sixes, Monte on sixes

  My nigga Product, you know, we doin a bid man. Hardwork Entertainmant, ya’ll know what it is from me
  nigga, Grimey A nigga, huh.

  [UI] Seven Mile.

  This is Product man, fresh out man, you already know what it is. We back at it man. Hardwork
  Entertainment.

  Kingping Rock signing off

  King Huh

  You know what that is my nigga.

  Ice-O Ice-O

  [UI] Block man Ice-O my bro nigga.Fuck with him you fuck with me man.

  He’ll get it.

  [Music playing]

  R-O the fuckin’ great what it is nigga. I’m home nigga. Yeah I took them shots nigga. I got some shots for
  ya’ll niggas though. Don’t think it ain’t coming back. It’s coming back soon nigga. The great. Holla at me.
  One.
